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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   UNITED STATES OF AMERICA                     )
                                                )
         v.                                     )               Cr. No. 05-858 (WHW)
                                                )
  GHENET MARU MESFUN                            )
       and                                      )
  JOSEPH Y. MESFUN                              )
                                     PROPOSED
                                       ORDER
                       FOR COMPETENCY EXAMINATION AND REPORT


          On January 18, 2011, the Court held a status conference in this matter. The Court, having

  received and reviewed the Criminal Responsibility Evaluation report dated October 13, 2010

  (signed by Dr. William Ryan and Dr. Elissa R. Miller, psychologists employed by the Federal

  Bureau of Prisons) and having heard from the parties during the aforementioned hearing (at

  which defendant Ghenet Maru Mesfun was present), finds that there is still reasonable cause to

  believe that defendant Ghenet Maru Mesfiin is presently suffering from a mental disease or

  defect rendering her mentally incompetent to the extent that she is unable to understand the

  nature and consequences of the proceedings against her or to assist properly in her defense.

         Accordingly, it is hereby ORDERED that defendant Ghenet Maru Mesfun remain in the

  custody of the Attorney General (preferably at MCC New York or at a suitable facility in the

  New York City metropolitan area) for purposes of undergoing a psychological or psychiatric

  examination, pursuant to 18 U.S.C. § 4241(b), to determine whether defendant Ghenet Maru

  Mesfun is currently competent to stand trial or enter a plea in this case. The psychological or
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  psychiatric examination should be completed within thirty (30) days from the date defendant

  Ghenet Maru Mesfun arrives at the facility where the examination is to take place.

         It is further ORDERED that upon completion of said examination, the examiner will

  prepare and provide the Court, with a copy to counsel for defendant Ghenet Maru Mesfun and

  the attorney for the Government, the written report as described in 18 U.S.C. § 4247(b) and (c).

  Specifically, the report should include:

         (1)     Defendant Ghenet Maru Mesfun’ s history and present symptoms;

         (2)     A description of the psychiatric, psychological and/or medical tests that were
                 employed and their results;

         (3)     The examiner’s findings;

         (4)     The examiner’s opinions as to diagnosis, prognosis, and;

         (5)     The examiner’s opinion as to whether defendant Ghenet Maru Mesfun is currently
                 competent to stand trial of the charged offenses or to enter a plea (this opinion
                 should include an explanation of the degree to which (if at all) defendant
                 Ghenet Maru Mesfun’s current regimen of medications has restored her to
                 competency; if possible, this opinion should also address the degree to which
                 defendant Ghenet Maru Mesfun would be a danger to herself or others if released
                 from custody).

         It is further ORDERED that defendant Ghenet Maru Mesfun’s counsel and the

  government’s attorney may provide to the examiner any and all medical reports concerning the

  condition of defendant Ghenet Maru Mesfun and documentary information concerning the

  offense charged.

         It is further ORDERED that the time necessary to complete the procedures pursuant to 18

  U.S.C. § 4241 and be excluded in computing the time within which trial must commence,
                                ____




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   pursuant to 18 U.S.C. § 3161(h)(1)(A), 3161(h)(l)(F), 3161(h)(1)(H), 3l61(h)(4),

   3 161(h)(7)(A), and 3 l61(h)(7)(B)(ii).

          In support of its finding pursuant to 18 U. S .C. § 3161 (h)(7)(A), the Court finds that the

   ends of justice served by completion of procedures pursuant to 18 U.S.C. § 4241 outweigh the           I

       interests of the public and the defendanta speedy trial, because proper resolution of

   defendant Ghenet Maru Mesfun’s mental competency issues is necessary to the fair and orderly

   administration of the trial, and because the interests of fairness and judicial economy dictate that

  the two co-defendants be tried together due to the common questions of law and fact inherent in

  the charges against them.
                                                 /
                                                I                                         /
          SO ORDERED this              day /h//A, 2011                        /


                                                I                                      //
                                                               ,/
                                                           I
                                                         Hon
                                                         UNITED STATES DISTRICT JUDGE




                                                     3
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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   UNITED STATES OF AMERICA                     )
                                                )
         v.                                     )               Cr. No. 05-858 (WHW)
                                                )
   GHENET MARU MESFUN                           )
        and                                     )
   JOSEPH Y. MESFUN                             )


                                    CERTIFICATE OF SERVICE

          I hereby certify that on January 20, 2011, I electronically filed the foregoing pleading with
  the Clerk of the Court using the CM/ECF system which will send notification of such filing to
  the following: Stephen Turano, Esq., counsel for Ghenet Maru Mesfun, and Thomas Ashley,
  Esq., counsel for Joseph Y. Mesfun.

                                                        Respectfully submitted,


                                                        /s/ Ryan R. McKinstry
                                                        Ryan R. McKinstry
                                                        Trial Attorney
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